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                     EXHIBIT 4
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                                                                                            Dec 12 2022
                                                                                             10:21AM
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 7

 8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                                   FOR THE COUNTY OF LOS ANGELES

10

11   MARTIESE HERBAGE, Individually and as               Case No. 21STCV35410
     Successor-in-Interest to DANIEL HERBAGE,
12   Deceased, MATTHEW HERBAGE and                       JCCP No.: 4674
     STEPHANIE HERBAGE DESIST,
13                                                      CRANE CO.’S OBJECTIONS AND
                       Plaintiffs,                      RESPONSES TO PLAINTIFFS’ LAOSD
14                                                      GENERAL ORDER STANDARD
            v.                                          INTERROGATORIES TO DEFENDANT
15
                                                        CRANE CO.
     AMCORD, INC., et al.,
16

17                         Defendants.
                                                        Complaint Filed:   September 27, 2021
18

19

20   PROPOUNDING PARTY:              Plaintiffs, MARTIESE HERBAGE, Individually and as
                                     Successor-in-Interest to DANIEL HERBAGE, Deceased, MATTHEW
21                                   HERBAGE and STEPHANIE HERBAGE DESIST
22
     RESPONDING PARTY:               Defendant, CRANE CO.
23   SET NO:                         ONE
24          Defendant Crane Co. objects and responds to Plaintiffs’ LAOSD General Order Standard
25   Interrogatories Propounded to Defendant Crane Co. as follows:
26

27

28

     CRANE CO.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ LAOSD GENERAL ORDER STANDARD
                          INTERROGATORIES TO DEFENDANT CRANE CO.
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 1   INTERROGATORY NO. 27:

 2            Did YOU ever warn of any health hazards of ASBESTOS? If so, for each such warning, then

 3   state:

 4                   A. The content, size, color, and location of the warning (including but not limited to

 5                       whether the warning appeared on the material and/or on the container, and/or was

 6                       placed on a tag; whether the warning was included in contracts or whether the

 7                       warning was included in brochures, catalogs, advertising or other promotional

 8                       materials);

 9                   B. Whether YOU have any photographs or images thereof;

10                   C. The inclusive dates on which each such warning was used; and

11                   D. All changes made to each warning and the dates of such changes.

12   ANSWER:                In addition to the General Objections set forth above, Crane Co. objects to

13   this Interrogatory because it is overly broad and unduly burdensome. Crane Co. further objects

14   to this Interrogatory because it seeks information that is not relevant and it is not reasonably

15   calculated to lead to the discovery of admissible evidence. Crane Co. also objects to this

16   Interrogatory to the extent it implies (i) that Crane Co. manufactured “asbestos products” as it

17   understands that term and as that term is commonly used in asbestos litigation; (ii) that Crane

18   Co. ever manufactured, refined, or processed, “loose asbestos fibers”; or (iii) that Crane Co.

19   manufactured products were harmful when used as intended.                   Crane Co. was not a

20   manufacturer of “asbestos products.” At all times relevant and as it pertains to this case, Crane

21   Co. is and has been a manufacturer and seller of industrial fluid control products – most notably

22   metal valves.    Crane Co. objects to this Interrogatory to the extent it seeks information

23   concerning sales by entities which were not affiliated with Crane Co. at the time of sale, or

24   information concerning products not identified by Plaintiffs, as such information is irrelevant.

25   Finally, Crane Co. objects to this Interrogatory as compound, vague, and ambiguous.

26                          Subject to and without waiving the foregoing objections, to the best of

27   Crane Co.’s present knowledge, the only statement associated with any Crane Co. manufactured

28   industrial product regarding asbestos was a notification that first appeared in the mid-1980s
                                                       49                                    RECYCLED PAPER
     CRANE CO.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’ LAOSD GENERAL ORDER STANDARD
                          INTERROGATORIES TO DEFENDANT CRANE CO.
